Case 8:24-cv-01801-PX Document 12-3 Filed 09/09/24 Page 1 of 2

AFFIDAVIT OF JOAN SPENCE

I, Joan Spence, being of full age on her oath, deposes and says:

I am an adult individual with a date of birth of S ~~ CS ~~ \Q Cand reside at
{SoCo Loot lAn\\ Co SS etl 2 BDSO0&

I personally witnessed that Guy Martin and Ashley Nance were in a committed, romantic
relationship starting in April 2021 and lasting until Guy’s passing on December 3, 2023.

In September of 2021, Guy Martin stated that he wanted to obtain life insurance coverage
naming his partner, Ashley Nance, as beneficiary, to ensure that Ashley’s financial security
continued to be safeguarded even after his passing.

On September 5, 2021, Guy Martin sat down with Ashley Nance to electronically apply for
life insurance coverage.

On September 5, 2021, Guy Martin completed an application for life insurance coverage
naming Ashley Nance as the sole beneficiary. The application that Guy Martin completed
ultimately became CMFG Life Insurance Company’s Policy Number LC2162715.

On October 30, 2021, Guy Martin purchased a 14 K engagement ring for Ashley Nance and
proposed to her in November 2021. Ashley stated the ring was a tight fit so Guy took the ring
to Kay Jewelers on December 8, 2021, to have it sized up.

It should be noted that although Ashley Nance handled the majority of her bills on her own,
Guy Martin habitually paid for all entertainment-related expenses.

Even though Ashley Nance had a place of her own she stayed with Guy Martin. He also
allowed her to drive his 2002 Chevy Blazer daily even though she had a vehicle of her own.

On May 19, 2022, Guy Martin added Ashley Nance to his bank account as a beneficiary to
ensure that she would have access to his account if he passed away.

10. On May 26, 2022, Guy Martin completed an Advance Directive and named Ashley Nance as

11.

the Primary Agent.

On September 16, 2022, Guy Martin, Ashley Nance, and I placed a ratified contract on 224
Broadway Centreville, MD 21617. We closed on this property on February 14, 2023.

12. 224 Broadway Centreville, MD 21617, was purchased through a Homestyle Renovation

Loan. Guy Martin and Ashley Nance planned to move in when the home renovations were
complete.

Page 1 of 2
Case 8:24-cv-01801-PX

Dated: OG, — 1 ~ CA

Sworn to and subscribed
before me this

day Fes, of Dode , 2024.
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A hw

Notary Public

Document 12-3 Filed 09/09/24 Page 2 of

By: SYOANRD_

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[JOAN $PENCE]

ROMAN H LORENSO

Notary Public.
Montgomery County, M

atyland

My Commission Expires.

November 07, 2034

Page 2 of 2
